  Case 18-12246       Doc 47        Filed 10/28/19 Entered 10/28/19 15:55:57           Desc Main
                                      Document     Page 1 of 2


                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  JACKSON DIVISION

    In Re:                                                    Case No. 18-12246

    VIRGINIA I. SPENCER,                                      Chapter 7

             DEBTOR.


    AMENDED OBJECTION TO TRUSTEE’S MOTION TO SELL PROPERTY FREE AND
   CLEAR OF LIENS UNDER SECTION 363(f) REGARDING REAL PROPERTY LOCATED
               AT 627 KELLER STREET, BOLIVAR, TENNESSEE 38008


      COMES NOW, Select Portfolio Servicing, Inc., as Transferee of Nationstar Mortgage LLC

d/b/a Mr. Cooper, (“Select Portfolio Servicing, Inc.”) by and through the undersigned Counsel,

and hereby files this Amended Objection to the Trustee’s Motion to Sell Property Free and Clear

of Liens Under Section 363(f). Select Portfolio Servicing, Inc. would state that per the terms of

the Agreed Order at Docket Entry No. [38], provision numbered two (2):

       “Should the Trustee fail to sell the Property within the one hundred and twenty
       (120) days provided, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors
       or assigns, shall have relief from the automatic stay and abandonment of the
       Property from the Trustee without further order from the Court, and will be
       entitled to pursue all of its rights and remedies relating to the Property pursuant to
       state law as applicable.”

Select Portfolio Servicing, Inc. would state more than one hundred twenty (120) days have

passed since the entry of the Order at Docket Entry No. [38].

        In the event the Trustee is allowed to proceed with the sale, the Court should condition

the sale upon Select Portfolio Servicing, Inc. being paid in full based upon an updated payoff

statement at the time of closing.
  Case 18-12246       Doc 47     Filed 10/28/19 Entered 10/28/19 15:55:57           Desc Main
                                   Document     Page 2 of 2


        WHEREFORE, Select Portfolio Servicing, Inc. requests an opportunity to be heard on

the matter.

                                        /s/ Bonnie Culp
                                        Bonnie Culp, Attorney for Creditor, Bar # 14741
                                        bculp@logs.com |704-249-0065
                                        Shapiro & Ingle, LLP
                                        10130 Perimeter Pkwy, Suite 400
                                        Charlotte, NC 28216
                                        Phone: 704-333-8107 | Fax: 704-333-8156
                                        Supervisory Attorney Contact: Grady Ingle
                                        gingle@logs.com | 704-831-2217
                                        Electronic Service Notifications: tnecf@logs.com


                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing response has
been electronically served or mailed, postage prepaid on October 28th, 2019 to the following:

     Louis W Ringger
     222 West Baltimore Street, Suite B
     Jackson, TN 38301

     Virginia I. Spencer
     627 Keller St.
     Bolivar, TN 38008

     Michael T. Tabor
     203 S. Shannon
     P.O. Box 2877
     Jackson, TN 38302-2877


                                        /s/ Bonnie Culp
                                        Bonnie Culp, Attorney for Creditor, Bar # 14741
                                        bculp@logs.com |704-249-0065
                                        Shapiro & Ingle, LLP
                                        10130 Perimeter Pkwy, Suite 400
                                        Charlotte, NC 28216
                                        Phone: 704-333-8107 | Fax: 704-333-8156
                                        Supervisory Attorney Contact: Grady Ingle
                                        gingle@logs.com | 704-831-2217
                                        Electronic Service Notifications: tnecf@logs.com
